 

Case 1:19-cv-10219-PBS Document 15 Filed 06/26/20 Page 1 of 1

IN THE FRANKLIN COUNTY MUNICIPAL COURT
COUNTY, OHIO

 

+ CASE NO: 1:19-CV-10219-PBS
Leonitus Jabir Bey *

 

Plaintiff, JUDGE: Patty B Saris

-VS-

*" * +

MOTION FOR EXTENSION OF DEPOSITION

David Pender Allen

 

Defendant(s), Pro Se. .

 

Plaintiff(s), _Leonitus Jabir Bey, pro se, respectfully request(s) an order granting
cdzaplaintiff(s), pro se, an additional 28 days in which to acquire, schedule or otherwise respond
to the Defendants deposition. I (we) am (are) motioning for such extension due to delays created
by covid 19 pandemic> along with communication errors between parties. Opposing Counsel has

been properly notified of this request.

Respectfully submitted

Leonitus Jabir Bey__, pro se
P> O. Box 1934

Lowell MA 01852
617-480-9025

Plaintiff, pro se

FILED
Clerk's Office
USDC, Mass.

Date_b |av |aU90
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Deputy Clerk
